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                               IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON


    RUPABALA,                                                  No. 3:18-cv-00850-HZ


                             Plaintiff,

           V.                                                  VERDICT FORM

    OREGON HEALTH & SCIENCE UNIVERSITY,
    JOAQUIN CIGARROA, AND CHARLES
    HENRIKSON,

                             Defendants.



    We, the juiy, unanimously find as follows:


    Section 1: Claims against Defendant Oregon Health & Science University (OHSU)
    I.     Title VII - Sex Discrimination

           Question 1.    Did Plaintiff prove by a preponderance of the evidence that Defendant

    OHSU nonrenewed her contract or restricted her clinical privileges because of her sex?

                  Lves                           No

    Proceed to Question 2.


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II.    Title IX- Sex Discrimination

       Question 2.     Did Plaintiff prove by a preponderance of the evidence that Defendant

OHSU nonrenewed her contract or restricted her clinical privileges because of her sex?

              ){_ves                          No

Proceed to Question 3.

III.   ORS 659A.030 - Sex Discrimination

       Question 3.     Did Plaintiff prove by a preponderance of the evidence that Defendant

OHSU nonrenewed her contract or restricted her clinical privileges because of her sex?

               Lves                           No

Proceed to Question 4.

IV.    ORS 659A.199 - Retaliation

       Question 4.     Did Plaintiff prove by a preponderance of the evidence that Defendant

OHSU retaliated against her by not renewing her contract, restricting her clinical privileges,

investigating reports of Plaintiffs conduct in November 2015 and/or August 2016, or by

providing a negative reference, because she made a good-faith report of evidence of a violation

of a state or federal law, rule, or regulation regarding quality of care?

                       Yes             ¼_No

Proceed to Question 5.

V.     ORS 441.044 - Retaliation

       Question 5,     Did Plaintiff prove by a preponderance of the evidence that Defendant

OHSU retaliated against her by not renewing her contract, restricting her clinical privileges,

investigating reports of Plaintiffs conduct in November 2015 and/or August 2016, or by

providing a negative reference, because she disclosed to a manager an activity, policy, or

practice of the hospital that Plaintiff reasonably believed was a violation of law or a rule or was a
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violation of professional standards of practice that Plaintiff reasonably believed posed a risk to

the health, safety, or welfare of a patient or the public?

                       Yes            t        No

Proceed to Question 6.

Section 2: Claims against Defendant Charles Henrikson
VII.    Section 1983 - Equal Protection - Discrimination

        Question 6.     Did Plaintiff prove by a preponderance of the evidence that Defendant

Hemikson personally participated in a decision to restrict Plaintiffs clinical privileges, not

renew her employment contract, or provide a negative reference?

              X        Yes                     No

        1.fyou answered "No" to Question 6, you have completed your consideration of the

claims against Defendant Henrikson. Proceed to Section 3, Question 8.

        Ifyou answered "Yes," proceed to Question 7.

        Question 7.      Did Plaintiff prove by a preponderance of the evidence that her sex was a

substantial, motivating factor in Defendant Hemikson's participation in the restriction of

Plaintiffs clinical privileges, nomenewal of her employment contract, or negative reference?

                ){Yes                          No

        Proceed to Section 3, Question 8.
Section 3: Claims against Defendant Joaquin Cigarroa
VII.    Section 1983 - Equal Protection - Discrimination

        Question 8.      Did Plaintiff prove by a preponderance of the evidence that Defendant

Cigarroa personally participated in a decision to restrict Plaintiffs clinical privileges, not renew

her employment contract, or provide a negative reference?

               't,_Yes                         No

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       Ifyou answered "No" to Question 8, you have completed your consideration of the

claims against Defendant Cigarroa. Proceed to Section 4.

       Ifyou answered "Yes," proceed to Question 9.

       Question 9.     Did Plaintiff prove by a preponderance of the evidence that her sex was a

substantial, motivating factor in Defendant Cigarroa's participation in the restriction of

Plaintiffs clinical privileges, nomenewal of her employment contract, or negative reference?

               ½_ Yes                        No

       Proceed to Section 4.

Section 4: Damages
       Ifyou answered "Yes" to Questions 1, 2, 3, 4, 5, 7, or 9, answer Question 10. Ifyou

answered "No" to Questions 1, 2, 3, 4, 5, 7, and 9, sldp Section 4 and the presiding juror should

sign and date this verdict form.

       Question 10. What is the value, if any, of the damages Plaintiff suffered from

Defendants' conduct?


       Lost past wages and benefits: $         \J f20i oOO
       Lost future wages and benefits: $      21      8091 (oOO
                                                              I


                                                  0
       Impaired earning capacity: $ - - - - - - - - - - - - -

                                         70 J-(00
       Emotional distress: $_______,_________




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       The Presiding Juror should sign and date this Verdict Form.


       DATED this    2 0 day of April, 2024




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